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 8
                              UNITED STATED DISTRICT COURT
 9
                  CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10

11

12
     CONNIE TAYLOR BROADOUS                      CASE NO.: 2:20-cv-10950 GW (JEMx)

                                                 Hon. George H. Wu
13         Plaintiff,
                                                 PLAINTIFF’S STATEMENT OF
14         v.                                    GENUINE DISPUTES IN
                                                 OPPOSITION TO MOTION FOR
15                                               SUMMARY JUDGMENT
     TARGET CORPORATION; individually
16 and dba TARGET STORE T-2329;                  Date: December 9, 2021
     and DOES 1 TO 20,                           Time: 8:30 a.m.
17                                               Ctrm: 9D
           Defendants.
18                                               /
19                                                [Filed concurrently with Opposition and
                                                  Declaration of Steven Berkowitz]
20

21
           Plaintiff Connie Taylor Broadous Submits this Statement of Genuine Disputes
22
     pursuant to Central District of California Local Rule 56-2 in opposition to the Motion
23
     for Summary Judgment herein filed by Defendant.
24
           Facts 1 through 23 below correspond to the facts and supporting evidence
25
     presented in the Statement of Uncontroverted Facts filed by the moving party. These
26
     facts are followed by additional material facts and supporting evidence showing a
27
     genuine issue.
28

                                           1
                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
Case 2:20-cv-10950-GW-JEM Document 31-2 Filed 11/19/21 Page 2 of 17 Page ID #:539



 1

 2   Defendant’s Alleged Uncontroverted              Plaintiff’s Response and Supporting
     Facts                                           Evidence
 3
     1. On October 27, 2020, plaintiff filed         Plaintiff agrees this is undisputed.
 4      the operative complaint in the
 5
        Superior Court of California, County
        of Los Angeles in Case Number
 6      20STCV41151.
 7

 8
     2. The complaint alleges causes of              Plaintiff agrees this is undisputed.
        action for negligence and premises
 9      liability arising from plaintiff’s fall in
10      a “soapy liquid spill.”

11
     3. On December 2, 2020, Target                  Plaintiff agrees this is undisputed.
12      Removed this case to this Court on
13      diversity grounds.

14
     4. The slip and fall in this case               Plaintiff agrees this is undisputed.
15      happened on June 1, 2020, at the
16      Target store located at 11133 Balboa
        Blvd. in Granada Hills, California.
17

18   5. Plaintiff slipped and fell in the main       Plaintiff agrees this is undisputed.
19      aisle near the registers.

20
     6. On the day of the incident, plaintiff        Plaintiff agrees this is undisputed.
21      was accompanied to the store by her
22      assistant and direct supervisee, Verna
        Stewart.
23

24   7. After plaintiff fell, another customer,      Plaintiff is unable to admit or deny. The
        Luis Saldana, came to plaintiff’s side
25      within seconds to assist her, while          person never identified himself.
26      plaintiff was still on the floor at the      Berkowitz Decl., ¶ 2; Exh. 1, Broadous
        incident location and sitting in the
27      liquid spill                                 Decl. at ¶ 13.
28

                                          2
               PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
Case 2:20-cv-10950-GW-JEM Document 31-2 Filed 11/19/21 Page 3 of 17 Page ID #:540



 1
                                              Further, Luis Saldana unilaterally
 2
                                              terminated his deposition within
 3
                                              approximately 20 minutes after it began,
 4
                                              and refused to answer Plaintiff’s
 5
                                              counsel’s questions about the full extent
 6
                                              of his and his companion’s involvement
 7
                                              or background. Berkowitz Decl., ¶ 3;
 8
                                              Exh. 2, Saldana Depo. (see highlighted
 9
                                              portions on pgs. 10, 13-16, 18-19, 21-
10
                                              23).
11

12
                                              Further, Target has failed to provide the
13
                                              complete incident report, which included
14
                                              its interview with Luis Saldana, despite
15
                                              discovery request for same.
16

17
                                              Decl. of Berkowitz, ¶¶ 4-6; Exh. 6,
18
                                              Pittman Depo. (see highlighted portions
19
                                              on pgs. 44-45, 52-53, 74).
20   8. Mr. Saldana was an independent        Plaintiff is unable to admit or deny. Luis
21
        witness in that he did not work for
        Target and has never worked for       Saldana unilaterally terminated his
22      Target                                deposition within approximately 20
23
                                              minutes after it began, and refused to
24
                                              answer Plaintiff’s counsel’s questions
25
                                              about the full extent of his and his
26
                                              companion’s involvement.
27

28

                                         3
              PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
Case 2:20-cv-10950-GW-JEM Document 31-2 Filed 11/19/21 Page 4 of 17 Page ID #:541



 1
                                                 Berkowitz Decl., ¶ 3; Exh. 2, Saldana
 2
                                                 Depo. (see highlighted portions on pgs.
 3
                                                 10, 13-16, 18-19, 21-23).
 4   9. Mr. Saldana observed the touch,          Plaintiff is unable to admit or deny. Luis
 5
        smell, appearance and slippery
        consistency of the liquid and he         Saldana unilaterally terminated his
 6      determined it was a type of soap.        deposition within approximately 20
 7
                                                 minutes after it began, and refused to
 8
                                                 answer Plaintiff’s counsel’s questions
 9
                                                 about the full extent of his and his
10
                                                 companion’s involvement.
11
                                                 Berkowitz Decl., ¶ 3; Exh. 2, Saldana
12
                                                 Depo. (see highlighted portions on pgs.
13
                                                 10, 13-16, 18-19, 21-23).
14

15
                                                 Further, Target has failed to provide the
16
                                                 complete incident report, which included
17
                                                 its interview with Luis Saldana, despite
18
                                                 discovery request for same.
19

20
                                                 Decl. of Berkowitz, ¶¶ 4-6; Exh. 6,
21
                                                 Pittman Depo. (see highlighted portions
22
                                                 on pgs. 44-45, 52-53, 74).
23   10. Plaintiff observed the soap spill to be Plaintiff agrees this is undisputed.
24
         clear and not dirty

25
     11. There was nothing about the liquid   Objection. Vague and ambiguous as to
26       that led plaintiff to believe it has
27       been on the ground for a long period the term, “long period of time.” Without
         of time                              waiving these objections, and subject to
28

                                         4
              PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
Case 2:20-cv-10950-GW-JEM Document 31-2 Filed 11/19/21 Page 5 of 17 Page ID #:542



 1
                                              them, not disputed as it pertained to “the
 2
                                              liquid.”
 3

 4   12. Approximately 33 seconds before the Objection. Vague and ambiguous as to
 5
         incident occurred, Mr. Saldana had
         walked through the incident location “walk through the incident location”
 6       as he was making his way to a        with respect to whether this means the
 7
         register to pay for his items
                                              specific location where the spill
 8
                                              occurred, or the general area of the main
 9
                                              aisle which also contained the spill.
10

11
                                              Without waiving these objections, and
12
                                              subject to them, Plaintiff is unable to
13
                                              admit or deny. Luis Saldana unilaterally
14
                                              terminated his deposition within
15
                                              approximately 20 minutes after it began,
16
                                              and refused to answer Plaintiff’s
17
                                              counsel’s questions about the full extent
18
                                              of his and his companion’s involvement.
19
                                              Berkowitz Decl., ¶ 3; Exh. 2, Saldana
20
                                              Depo. (see highlighted portions on pgs.
21
                                              10, 13-16, 18-19, 21-23).
22

23
                                              Further, based upon Target’s spoliation,
24
                                              concealment, and failure to produce
25
                                              requested records in this matter,
26
                                              including its report containing its
27
                                              interview of Mr. Saldana, such conduct
28
                                              strongly suggests Target may have
                                         5
              PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
Case 2:20-cv-10950-GW-JEM Document 31-2 Filed 11/19/21 Page 6 of 17 Page ID #:543



 1
                                                contrary information and/or at least
 2
                                                knowledge of the spill before Plaintiff’s
 3
                                                fall.
 4

 5
                                                Decl. of Berkowitz ¶¶ 4-8, 10-12; and
 6
                                                also referring to Ms. Pittman’s
 7
                                                deposition on pages 10, 12, 19, 24-28,
 8
                                                30-31, 36-37, 39-45, 47-48, 52-57, 69,
 9
                                                72-74), and referring to Ms. Jafari’s
10
                                                deposition on pages 37-38, 40-41, 49,
11
                                                51, 53-54, 56-57, 59-62, 75-76, 78-79,
12
                                                83, 86, 90-93, 107-109, 118-119; as well
13
                                                as Exhibits 3-8.
14   13. At that time, there was no liquid on   Objection. Vague and ambiguous as to
15
         the floor at the incident location.
                                                “the incident location” with respect to
16
                                                whether this means the specific location
17
                                                where the spill occurred, or the general
18
                                                area of the main aisle which also
19
                                                contained the spill.
20

21
                                                Without waiving these objections, and
22
                                                subject to them, Plaintiff is unable to
23
                                                admit or deny. Luis Saldana unilaterally
24
                                                terminated his deposition within
25
                                                approximately 20 minutes after it began,
26
                                                and refused to answer Plaintiff’s
27
                                                counsel’s questions about the full extent
28
                                                of his and his companion’s involvement.
                                         6
              PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
Case 2:20-cv-10950-GW-JEM Document 31-2 Filed 11/19/21 Page 7 of 17 Page ID #:544



 1
                                                 Berkowitz Decl., ¶ 3; Exh. 2, Saldana
 2
                                                 Depo. (see highlighted portions on pgs.
 3
                                                 10, 13-16, 18-19, 21-23).
 4

 5
                                                 Further, based upon Target’s spoliation,
 6
                                                 concealment, and failure to produce
 7
                                                 requested records in this matter,
 8
                                                 including its report containing its
 9
                                                 interview of Mr. Saldana, such conduct
10
                                                 strongly suggests Target may have
11
                                                 contrary information and/or at least
12
                                                 knowledge of the spill before Plaintiff’s
13
                                                 fall.
14

15
                                                 Decl. of Berkowitz ¶¶ 4-8, 10-12; and
16
                                                 also referring to Ms. Pittman’s
17
                                                 deposition on pages 10, 12, 19, 24-28,
18
                                                 30-31, 36-37, 39-45, 47-48, 52-57, 69,
19
                                                 72-74), and referring to Ms. Jafari’s
20
                                                 deposition on pages 37-38, 40-41, 49,
21
                                                 51, 53-54, 56-57, 59-62, 75-76, 78-79,
22
                                                 83, 86, 90-93, 107-109, 118-119; as well
23
                                                 as Exhibits 3-8.
24   14. As Mr. Saldana walked toward the        Plaintiff is unable to admit or deny. Luis
25
         register, and before he reached the
         location of the incident, he passed a   Saldana unilaterally terminated his
26       female customer who was carrying a      deposition within approximately 20
27
         bottle of soap in her hand
                                                 minutes after it began, and refused to
28
                                                 answer Plaintiff’s counsel’s questions
                                         7
              PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
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 1
                                                about the full extent of his and his
 2
                                                companion’s involvement.
 3
                                                Berkowitz Decl., ¶ 3; Exh. 2, Saldana
 4
                                                Depo. (see highlighted portions on pgs.
 5
                                                10, 13-16, 18-19, 21-23).
 6

 7
                                                Further, based upon Target’s spoliation,
 8
                                                concealment, and failure to produce
 9
                                                requested records in this matter,
10
                                                including its report containing its
11
                                                interview of Mr. Saldana, Plaintiff is
12
                                                unable to admit or deny.
13

14
                                                Decl. of Berkowitz ¶¶ 4-8, 10-12; and
15
                                                also referring to Ms. Pittman’s
16
                                                deposition on pages 10, 12, 19, 24-28,
17
                                                30-31, 36-37, 39-45, 47-48, 52-57, 69,
18
                                                72-74), and referring to Ms. Jafari’s
19
                                                deposition on pages 37-38, 40-41, 49,
20
                                                51, 53-54, 56-57, 59-62, 75-76, 78-79,
21
                                                83, 86, 90-93, 107-109, 118-119; as well
22
                                                as Exhibits 3-8.
23   15. At the register, Mr. Saldana began to Plaintiff does not dispute that there was a
24
         unload his items onto the conveyor
         belt, and he heard a loud “boom” that “loud boom” that sounded as though
25       sounded as though something was       something was dropped.
26
         dropped.

27
                                                Plaintiff is unable to admit or deny the
28
                                                remaining portion of these alleged facts.
                                         8
              PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
Case 2:20-cv-10950-GW-JEM Document 31-2 Filed 11/19/21 Page 9 of 17 Page ID #:546



 1
                                          Luis Saldana unilaterally terminated his
 2
                                          deposition within approximately 20
 3
                                          minutes after it began, and refused to
 4
                                          answer Plaintiff’s counsel’s questions
 5
                                          about the full extent of his and his
 6
                                          companion’s involvement.
 7
                                          Berkowitz Decl., ¶ 3; Exh. 2, Saldana
 8
                                          Depo. (see highlighted portions on pgs.
 9
                                          10, 13-16, 18-19, 21-23).
10

11
                                          Further, based upon Target’s spoliation,
12
                                          concealment, and failure to produce
13
                                          requested records in this matter,
14
                                          including its report containing its
15
                                          interview of Mr. Saldana, Plaintiff is
16
                                          unable to admit or deny.
17

18
                                          Decl. of Berkowitz ¶¶ 4-8, 10-12; and
19
                                          also referring to Ms. Pittman’s
20
                                          deposition on pages 10, 12, 19, 24-28,
21
                                          30-31, 36-37, 39-45, 47-48, 52-57, 69,
22
                                          72-74), and referring to Ms. Jafari’s
23
                                          deposition on pages 37-38, 40-41, 49,
24
                                          51, 53-54, 56-57, 59-62, 75-76, 78-79,
25
                                          83, 86, 90-93, 107-109, 118-119; as well
26
                                          as Exhibits 3-8.
27

28

                                       9
            PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
Case 2:20-cv-10950-GW-JEM Document 31-2 Filed 11/19/21 Page 10 of 17 Page ID #:547



 1   16. Within three seconds of the “boom,” Disputed to the extent that the second
         Mr. Saldana heard a second loud
 2
         noise.                              loud noise refers to Plaintiff falling on
 3
                                                the floor.
 4

 5
                                                As stated in the declarations of Plaintiff
 6
                                                and Ms. Stewart, based upon the number
 7
                                                of feet they would have been away from
 8
                                                the scene of the liquid from three
 9
                                                seconds away, i.e., 6-7 feet, they would
10
                                                have heard or seen a container dropping
11
                                                and creating a loud noise has it occurred
12
                                                within that time frame or even a longer
13
                                                time frame. They never heard or saw the
14
                                                same, despite having an unimpeded view
15
                                                and within hearing distance if it had
16
                                                occurred as described by Mr. Saldana.
17
                                                Decl. of Berkowitz ¶¶ 2, 9 (see
18
                                                Plaintiff’s Declaration (Exhibit 1 at ¶¶ 4-
19
                                                14 and Ms. Stewart’s Declaration
20
                                                (Exhibit 9 at ¶¶ 4-13).
21

22
                                                Further, this is denied based upon Luis
23
                                                Saldana having unilaterally terminated
24
                                                his deposition within approximately 20
25
                                                minutes after it began, and refused to
26
                                                answer Plaintiff’s counsel’s questions
27
                                                about the full extent of his and his
28
                                                companion’s involvement. Berkowitz
                                        10
              PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
Case 2:20-cv-10950-GW-JEM Document 31-2 Filed 11/19/21 Page 11 of 17 Page ID #:548



 1
                                               Decl., ¶ 3; Exh. 2, Saldana Depo. (see
 2
                                               highlighted portions on pgs. 10, 13-16,
 3
                                               18-19, 21-23).
 4

 5
                                               Further, this is denied based upon
 6
                                               Target’s spoliation, concealment, and
 7
                                               failure to produce requested records in
 8
                                               this matter, including its report
 9
                                               containing its interview of Mr. Saldana,
10
                                               this is denied.
11

12
                                               Decl. of Berkowitz ¶¶ 4-8, 10-12; and
13
                                               also referring to Ms. Pittman’s
14
                                               deposition on pages 10, 12, 19, 24-28,
15
                                               30-31, 36-37, 39-45, 47-48, 52-57, 69,
16
                                               72-74), and referring to Ms. Jafari’s
17
                                               deposition on pages 37-38, 40-41, 49,
18
                                               51, 53-54, 56-57, 59-62, 75-76, 78-79,
19
                                               83, 86, 90-93, 107-109, 118-119; as well
20
                                               as Exhibits 3-8.
21   17. He immediately took a few steps       Disputed to the extent that the time
22
         back from the register and observed
         an elderly woman on the floor in a    period involved in “immediately” is
23       puddle of liquid.                     three seconds or anywhere close to that,
24
                                               when he allegedly saw Plaintiff on the
25
                                               floor.
26

27
                                               As stated in the declarations of Plaintiff
28
                                               and Ms. Stewart, based upon the number
                                        11
              PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
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 1
                                           of feet they would have been away from
 2
                                           the scene of the liquid from three
 3
                                           seconds away, i.e., 6-7 feet, they would
 4
                                           have heard or seen a container dropping
 5
                                           and creating a loud noise has it occurred
 6
                                           within that time frame or even a longer
 7
                                           time frame. They never heard or saw the
 8
                                           same, despite having an unimpeded view
 9
                                           and within hearing distance if it had
10
                                           occurred as described by Mr. Saldana.
11
                                           Decl. of Berkowitz ¶¶ 2, 9 (see
12
                                           Plaintiff’s Declaration (Exhibit 1 at ¶¶ 4-
13
                                           14 and Ms. Stewart’s Declaration
14
                                           (Exhibit 9 at ¶¶ 4-13).
15

16
                                           Further, this is denied based upon Luis
17
                                           Saldana having unilaterally terminated
18
                                           his deposition within approximately 20
19
                                           minutes after it began, and refused to
20
                                           answer Plaintiff’s counsel’s questions
21
                                           about the full extent of his and his
22
                                           companion’s involvement. Berkowitz
23
                                           Decl., ¶ 3; Exh. 2, Saldana Depo. (see
24
                                           highlighted portions on pgs. 10, 13-16,
25
                                           18-19, 21-23).
26

27
                                           Further, this is denied based upon
28
                                           Target’s spoliation, concealment, and
                                      12
            PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
Case 2:20-cv-10950-GW-JEM Document 31-2 Filed 11/19/21 Page 13 of 17 Page ID #:550



 1
                                            failure to produce requested records in
 2
                                            this matter, including its report
 3
                                            containing its interview of Mr. Saldana,
 4
                                            this is denied.
 5

 6
                                            Decl. of Berkowitz, ¶¶ 4-8, 10-12; and
 7
                                            also referring to Ms. Pittman’s
 8
                                            deposition on pages 10, 12, 19, 24-28,
 9
                                            30-31, 36-37, 39-45, 47-48, 52-57, 69,
10
                                            72-74), and referring to Ms. Jafari’s
11
                                            deposition on pages 37-38, 40-41, 49,
12
                                            51, 53-54, 56-57, 59-62, 75-76, 78-79,
13
                                            83, 86, 90-93, 107-109, 118-119; as well
14
                                            as Exhibits 3-8.
15   18. Plaintiff does not know the soap   Objection. Unintelligible.
16
         spill came to be on the floor.

17
                                            Further objection. Defendant has failed
18
                                            to provide two requested reports
19
                                            concerning the incident, prepared by its
20
                                            manager or its manger’s assistant, as
21
                                            well as any video surveillance imaging
22
                                            of the incident or events leading to or
23
                                            following the incident.
24
                                            Berkowitz Declaration, ¶¶ 4-6
25
                                            (referencing Ms. Pittman’s deposition in
26
                                            part, Exhibit 6).
27

28

                                        13
              PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
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 1
                                               Without waiving these objections, and
 2
                                               subject to them, Plaintiff agrees this is
 3
                                               undisputed if it was intended to say
 4
                                               “Plaintiff does not know how the….”,
 5
                                               then this is undisputed.
 6

 7

 8   19. Plaintiff does not know how long the Objection. Defendant has failed to
 9
         spill was on the floor before the
         incident.                            provide two requested reports
10
                                               concerning the incident, prepared by its
11
                                               manager or its manger’s assistant, as
12
                                               well as any video surveillance imaging
13
                                               of the incident or events leading to or
14
                                               following the incident.
15
                                               Berkowitz Declaration, ¶¶ 4-6
16
                                               (referencing Ms. Pittman’s deposition in
17
                                               part, Exhibit 6).
18

19
                                               Without waiving these objections, and
20
                                               subject to them, Plaintiff agrees this is
21
                                               undisputed.
22   20. Plaintiff does not know of any Target Objection. Defendant has failed to
23
         Team member who knew of the spill
         on the floor before the incident.     provide two requested reports
24
                                               concerning the incident, prepared by its
25
                                               manager or its manger’s assistant, as
26
                                               well as any video surveillance imaging
27
                                               of the incident or events leading to or
28
                                               following the incident.
                                        14
              PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
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 1
                                              Berkowitz Declaration, ¶¶ 4-6
 2
                                              (referencing Ms. Pittman’s deposition in
 3
                                              part, Exhibit 6).
 4

 5
                                              Without waiving these objections, and
 6
                                              subject to them, Plaintiff agrees this is
 7
                                              undisputed.
 8   21. Ms. Stewart does not know where      Objection. Defendant has failed to
 9
         the spill came from, including
         whether the spill was created by a   provide two requested reports
10       guest or Target employee.            concerning the incident, prepared by its
11
                                              manager or its manger’s assistant, as
12
                                              well as any video surveillance imaging
13
                                              of the incident or events leading to or
14
                                              following the incident.
15
                                              Berkowitz Declaration, ¶¶ 4-6
16
                                              (referencing Ms. Pittman’s deposition in
17
                                              part, Exhibit 6).
18

19
                                              Without waiving these objections, and
20
                                              subject to them, Plaintiff agrees this is
21
                                              undisputed.
22   22. Ms. Stewart does not know if any     Objection. Defendant has failed to
23
         Target Team Member who knew of
         the spill on the floor before the    provide two requested reports
24       incident.                            concerning the incident, prepared by its
25
                                              manager or its manger’s assistant, as
26
                                              well as any video surveillance imaging
27
                                              of the incident or events leading to or
28
                                              following the incident.
                                        15
              PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
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 1
                                               Berkowitz Declaration, ¶¶ 4-6
 2
                                               (referencing Ms. Pittman’s deposition in
 3
                                               part, Exhibit 6).
 4

 5
                                               Without waiving these objections, and
 6
                                               subject to them, Plaintiff agrees this is
 7
                                               undisputed.
 8   23. Ms. Stewart does not know how long Objection. This is identical to No. 19
 9
         the spill was on the floor before the
         incident.                             above. Plaintiff incorporates the same
10
                                               response as in No. 19.
11

12
     Dated: November 18, 2021                   ETEHAD LAW, APC
13

14
                                              ________________________________
15                                             Simon P. Etehad
16
                                               Steven Berkowitz
                                               Attorneys for Plaintiff Connie Broadous
17

18

19

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26

27

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                                        16
              PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
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 1
                                      PROOF OF SERVICE
 2
                  STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3
           I am employed in the county of Los Angeles, State of California. I am over the
 4
     age of 18 and not a party to the within action. My business address is:
 5
           150 South Rodeo Drive, Suite 350
 6         Beverly Hills, California 90212
 7       On November 18, 2021, I served the foregoing document described as:
   PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION TO
 8 MOTION FOR SUMMARY JUDGMENT on the interested parties in this action by
   placing a true copy thereof enclosed in a sealed envelope, addressed as follows:
 9

10 Sean R. Burnett, Esq.
     Jessica Farley, Esq.
11 SNYDER BURNETT EGERER, LLP

12 5383 Hollister Avenue, Suite 240
     Santa Barbara, CA 93111
13 Email: sburnett@sbelaw.com

14 jfarley@sbelaw.com

15 By electronic mail: Based on a court order or an agreement of the parties to accept

16 electronic service, I caused the documents to be sent to the electronic address(es) of
     the addressee(s) listed above.
17

18 I declare under penalty of perjury under the laws of the United States of America that
     the foregoing is true and correct.
19

20 Executed on November 18, 2021, at Beverly Hills, California.

21

22                                                ______________________________
                                                  Steven Berkowitz
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                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES IN OPPOSITION
